   Case: 1:13-cv-08993 Document #: 94 Filed: 07/14/16 Page 1 of 18 PageID #:829



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                      UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF ILLINOIS
                            EASTERN DIVISION


James L. Jones,

             Plaintiff,                       Case No. 13 C 8993

             v.
                                              Judge John Robert Blakey
DuPage County Sheriff,

             Defendant.




                    MEMORANDUM OPINION AND ORDER

      Plaintiff James L. Jones worked for the DuPage County Sheriff’s Office as a

Deputy Sheriff from May of 1993 until his retirement in June of 2014. Before he

retired, on December 17, 2013, Jones sued the Sheriff’s Office alleging retaliation in

violation of the Americans with Disabilities Act of 1990 (hereinafter the “ADA”). He

alleged that he had been retaliated against for filing disability discrimination

charges against his employer with the Equal Employment Opportunity Commission

(“EEOC”). The Sheriff’s Office moved for summary judgment on Jones’ claim [66].

For the reasons explained below, Defendant’s motion is granted.
     Case: 1:13-cv-08993 Document #: 94 Filed: 07/14/16 Page 2 of 18 PageID #:830



I.     Background 1

       Plaintiff James L. Jones began working as a Deputy Sheriff for the DuPage

County Sheriff’s Office on May 23, 1993. Deposition of James Jones [68-3] at 9. 2

The DuPage County Sheriff’s Office is divided into three units, and during his

employment, Jones worked for all three: law enforcement, court security and

corrections. Jones Dep. at 9-10. Jones started in corrections, then requested and

received a transfer to court security in 1996. Id. at 10. He remained in court

security until approximately 2006 or 2007, when he requested and received a

transfer to law enforcement or “patrol,” where he went through the Field Training

Officer program. Id. at 11-13. Within six months, Jones realized that he did not

like patrol and requested and received a transfer back to the court security unit,

where he remained until he retired in June of 2014. Id. at 14.

       Prior to becoming a Deputy Sheriff, Plaintiff served in the military, where he

suffered severe frostbite to his feet. Id. at 26. The condition of Plaintiff’s feet

deteriorated over the years, and, by 2010, he found it increasingly difficult and more

painful to climb stairs. Jones Dep. at 27. Jones alleges that his “bilateral foot




1 The facts in this section are based upon the exhibits submitted with the parties’ Rule 56.1
Statements of Fact – namely, Plaintiff’s deposition [68-3] and Plaintiff’s Answers to Defendant’s
Interrogatories [81-1]. Defendant argues in its Reply Memorandum in Support of Summary
Judgment that Plaintiff’s bullet points in his Rule 56.1(b)(3)(B) statement fail to comply with Local
Rule 56.1(b)(3). [82] at 2. The Court agrees and grants Defendant’s motion to strike all of the bullet
points contained within that response to the extent they are not also contained within Plaintiff’s
Statement of Additional Facts [81]. The Court denies Defendant’s motions to strike Plaintiff’s
Statement of Additional Facts. As Plaintiff correctly notes, Defendant’s motions are also improper
under Local Rule 56.1. [88-1]

2The deposition of James Jones is attached to Defendant’s Rule 56.1(a)(3) Statement [68] as Exhibits
3 and 4.

                                                  2
   Case: 1:13-cv-08993 Document #: 94 Filed: 07/14/16 Page 3 of 18 PageID #:831



condition” constitutes a disability within the meaning of the ADA, and, for purposes

of this motion, Defendant does not dispute this.

      At his deposition, Jones testified that, in 2010, Sergeant Hoffman changed

his assignment from courtroom 2009 to prisoner transport and base. Jones Dep. at

31-32. He testified that the prisoner transport and base assignment required him

to climb stairs for all of the fourth floor courtrooms, as well as juvenile courtrooms,

and to be “very mobile with misdemeanor and felony inmates.” Id. at 32. When

Jones told Hoffman that the new assignment would be “very difficult” for him to

perform, Hoffman “became shouting mad and told me to leave, and not to return

without a doctor’s note.” Id. at 33. Plaintiff testified that he obtained a doctor’s

note that same day and returned to work with it the next day. Id. Jones testified

that he advised Hoffman that, pursuant to the note, he would be off work for three

weeks; Hoffman called Jones two days later and told him that he was on “no call, no

show” status. Id.

      When Jones returned to work, Hoffman immediately assigned him back to

the prisoner transport and base detail. Id. at 34. Jones “struggled through” to

perform that assignment and successfully completed it. Id. at 34-35. Jones testified

that he was assigned to the prisoner transport and base detail for one week. Id. at

35. Jones testified that, after that first week back, his supervisors gave him various

assignments and moved him around quite a bit. Id. at 35. Making matters worse,

Jones testified, they also started doling out his assignments each morning, rather




                                          3
      Case: 1:13-cv-08993 Document #: 94 Filed: 07/14/16 Page 4 of 18 PageID #:832



than the night before as they had previously done. Id. This required him to “hustle

around” to get to his assigned location on time. Id.

         Additionally, Jones testified that, sometime between 2010 and May 21, 2012,

Sergeant Orphan gave him an “extremely poor” performance evaluation.              Jones

Dep. at 37, 85-86. According to Jones, Sergeant Orphan’s evaluation rated him at a

40 – a rating that would ordinarily be supported with Chief’s hearings and

discussions about his lack of performance (which did not exist in his case) and that

could have subjected Jones to termination. Id. at 37.     Plaintiff requested a copy of

the report. Sergeant Orphan refused to provide it, but did increase his score to a 67.

Id.

         Jones testified that, during this same time period (between 2010 and May 21,

2012), Sergeant Lackomecki refused to allow him to submit requests for medical

appointments and told him she would not approve any more doctors’ appointments;

she told him that if he wanted to go to the doctor, he would have to call in sick. Id.

at 38.

         In November of 2011, Jones took six weeks off work to undergo surgery to

donate a kidney to his son, who had a kidney disease and was in need of a

transplant. Plaintiff’s SOF [81] at pp. 44-45; Plaintiff’s Answers to Defendant’s

Interrogatories, Answer No. 5.      When Plaintiff returned to work in early 2012,

Sergeant Hoffman was no longer his direct supervisor and Sergeant Victoria

Lackomecki had taken his place. When Plaintiff asked Sergeant Lackomecki for

time off for medical reasons, she refused, and told Plaintiff that if he needed to go to



                                           4
   Case: 1:13-cv-08993 Document #: 94 Filed: 07/14/16 Page 5 of 18 PageID #:833



a doctor’s appointment, he would have to call in sick. Jones Dep. at 53. Plaintiff

viewed this as an attempt to “make paper” on him because having to call in sick

would appear as a “negative” in his personnel file and would make it seem that he

had an absentee problem. Id. at 60-61. According to Plaintiff, Lackomecki also said

“aren’t you ready to retire yet?” Id. at 71.

      According to Plaintiff, these actions led him to file a charge with the EEOC

on June 4, 2012.     Id. at 42.   In his charge, Plaintiff claimed that, during his

employment, he was “subjected to different terms and conditions of employment,

including, but not limited to, not being allowed to request time off for doctors’

appointments.”    June 4, 2012 EEOC Charge (attached as Exhibit A to Second

Amended Complaint [50-1], p. 4). Plaintiff claimed in the charge that he believed

his employer had discriminated against him “because of my disability and in

retaliation, in violation of the [ADA].” Id. When asked at his deposition what his

disability was at that time, he indicated that it was his “bilateral foot condition” –

the deterioration of his feet as a result of the frostbite he suffered while in the

military. Jones Dep. at 26. Jones testified that, by the time he filed the EEOC

charge in June of 2012, he was “unable to climb stairs” and was “very unstable on

my feet.” Jones Dep. at 27. Jones testified that he filed the charge because his

supervisors “totally disregarded my disability.” Id. at 29. More specifically, he

testified that the sergeants supervising him (Tom Hoffman, Vicky Lackomecki and

Cory Orphan) “made paper on me”; “changed my assignments”; “refused to allow me




                                           5
   Case: 1:13-cv-08993 Document #: 94 Filed: 07/14/16 Page 6 of 18 PageID #:834



to request medical appointments, and they just made my work environment

unbearable.” Jones Dep. at 30.

      The June 4, 2012 EEOC charge does not set forth the basis for any retaliation

claim. When asked at his deposition to explain the basis of his retaliation claim,

Plaintiff initially testified that he was being retaliated against for filing the EEOC

charge, but then admitted that all of the conduct he was complaining about took

place before he filed the charge. Jones Dep. at 40-42.

      Jones testified that, after he filed his first EEOC charge, Sergeant

Lackomecki continued to change his assignments and refused to allow him to

request time off for doctor’s visits. Jones Dep. at 53. In his answers to Defendant’s

interrogatories, Jones represented that, in or around June of 2012, Jones requested

time off to visit the Veteran’s Administration with respect to his bilateral foot

condition, and Sergeant Lackomecki denied the request. See Plaintiff’s Answers to

Defendant’s Interrogatories, Answer No. 6 [81-1] (attached as Exhibit 1 to Plaintiff’s

SOF). Additionally, the record shows that in late July of 2012, Defendant informed

Jones that it would no longer accept doctor’s notes and would no longer provide

Jones with days off for medical treatment. Id. In January 2013, Lackomecki denied

a request to see a physician related to his kidney transplant. Id. Additionally, the

record shows that Plaintiff’s job reassignments continued in 2013: (1) in 2013 he

was assigned to the Order of Protection desk in courtroom 2001 for one week; (2) he

was reassigned to traffic court for one week; and (3) he was assigned to Field Court

approximately 3 or 4 times. Id., Answer No. 7. 11.



                                          6
   Case: 1:13-cv-08993 Document #: 94 Filed: 07/14/16 Page 7 of 18 PageID #:835



      Plaintiff filed a second EEOC charge on September 18, 2013. See Second

Amended Complaint, Exhibit C [50-3], p. 4; Jones Dep. at 69. In the second charge,

Jones claimed that, since filing the first charge of discrimination on June 4, 2012,

he had been “subjected to different terms and conditions of employment in that I

have been removed from my permanent assignment (2009) when work is still

available.” [50-3], p. 4. He further stated in the charge: “I believe I have been

discriminated against because of my disability and in retaliation for engaging in

protected activity, in violation of the [ADA].” Id.

      Plaintiff received a Right-to-Sue letter on this charge on September 25, 2013,

and filed his initial complaint in this case on December 17, 2013. Jones Dep. at 62;

Complaint [1].    Jones subsequently filed two amended complaints.          The second

amended complaint (“SAC”) [50] is the operative complaint.          It alleges a single

count of retaliation in violation of the ADA. More specifically, the SAC alleges that,

“[a]fter Plaintiff filed his charges of discrimination with the EEOC, Defendant

began a pattern of conduct of retaliation against the Plaintiff due to his disability

and his activity protected by law, including but not limited to Plaintiff’s act of filing

his discrimination claim with the EEOC.” SAC [50] at ¶ 58. Plaintiff alleges that,

as part of that pattern of retaliatory conduct: “Defendant repeatedly placed Plaintiff

in security assignments with stairs that were intended to aggravate Plaintiff’s

known disability and in direct defiance of Plaintiff’s request for a reasonable

accommodation” and Defendant attempted “to falsely ‘make paper’ on Plaintiff to

support a wrongful firing of the Plaintiff.” Id. at ¶¶59, 63. The SAC specifically



                                           7
      Case: 1:13-cv-08993 Document #: 94 Filed: 07/14/16 Page 8 of 18 PageID #:836



cites the incident with Sergeant Hoffman where he told Jones to leave work and not

return without a doctor’s note and then marked him down as “no call/no show”

despite the doctor’s note; it also cites Hoffman’s decision to assign him to the same

security assignment upon his return. SAC [50] at ¶¶ 64-65. It also specifically

cites: Sergeant Lackomecki’s comment “aren’t you ready to retire yet?”; and

Sergeant Orphan’s extremely low performance evaluation of Jones. Id. at ¶¶66, 67-

70.

        On January 25, 2016, Defendant filed a motion for summary judgment as to

Plaintiff’s retaliation claim. In its motion, Defendant argues that Jones cannot, as a

matter of law, demonstrate the elements of an ADA retaliation claim.

II.     Legal Standard

        Summary judgment is appropriate if the movant shows that there is no

genuine dispute as to any material fact and the movant is entitled to judgment as a

matter of law. Fed.R.Civ.P. 56(a); Spurling v. C & M Fine Pack, Inc., 739 F.3d

1055, 1060 (7th Cir. 2014). A genuine dispute as to any material fact exists if “the

evidence is such that a reasonable jury could return a verdict for the nonmoving

party.”    Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986).      The party

seeking summary judgment has the burden of establishing that there is no genuine

dispute as to any material fact. See Celotex Corp. v. Catrett, 477 U.S. 317, 323

(1986). In determining whether a genuine issue of material fact exists, this Court

must construe all facts and reasonable inferences in the light most favorable to the




                                           8
      Case: 1:13-cv-08993 Document #: 94 Filed: 07/14/16 Page 9 of 18 PageID #:837



nonmoving party, here, Jones.       See CTL ex rel. Trebatoski v. Ashland School

District, 743 F.3d 524, 528 (7th Cir. 2014).

II.     Analysis

        Plaintiff claims that Defendant retaliated against him in violation of the

ADA. The ADA prohibits employers from retaliating against employees who assert

their right to be free from discrimination. 42 U.S.C. § 12203(a); Viramontes v. U.S.

Bancorp, No. 10-CV-761, 2011 WL 6780644, at *8 (N.D. Ill. Dec. 27, 2011).             A

plaintiff can establish a valid case of retaliation under the ADA using either the

direct or indirect method of proof. Povey v. City of Jeffersonville, Ind., 697 F.3d 619,

624 (7th Cir. 2012); Kersting v. Wal-Mart Stores, Inc., 250 F.3d 1109, 1117 (7th Cir.

2001). Jones does not indicate whether he is proceeding under the direct or indirect

method, so the Court will consider both.

        A.     Direct Method

        To prevail on his retaliation under the direct method, Jones must show that:

(1) he engaged in a protected activity; (2) he suffered a materially adverse

employment action; and (3) there was a causal link between his protected activity

and the adverse action. Povey, 697 F.3d at 624. It is undisputed that Plaintiff

engaged in a statutorily protected activity by filing an EEOC charge. The parties

dispute whether Plaintiff suffered an adverse action and, if so, whether it was

causally related to his EEOC charge.

        An “adverse employment action is one that ‘materially alter[s] the terms and

conditions of employment.’” Anderson v. The Foster Group., 521 F. Supp. 2d 758, 779



                                           9
  Case: 1:13-cv-08993 Document #: 94 Filed: 07/14/16 Page 10 of 18 PageID #:838



(N.D. Ill. 2007) (citing Whittaker v. Northern Illinois University, 424 F.3d 640, 648

(7th Cir. 2005)).    To be actionable, an adverse employment action must be

“materially” adverse, meaning “more than a ‘mere inconvenience or an alteration of

job responsibilities.’” Oest v. Illinois Department of Corrections, 240 F.3d 605, 612

(7th Cir. 2001) (quoting Crady v. Liberty Nat'l Bank & Trust Co., 993 F.2d 132, 136

(7th Cir. 1993)). For example, a “‘materially adverse change might be indicated by a

termination of employment, a demotion evidenced by a decrease in wage or salary, a

less distinguished title, a material loss of benefits, significantly diminished material

responsibilities, or other indices that might be unique to a particular situation.’”

Oest, 240 F.3d at 612 (quoting Crady, 993 F.2d at 136). Not everything that “makes

an employee unhappy is an actionable adverse action.” Kersting, 250 F.3d at 1115.

      Here, Jones alleges that he suffered several materially adverse employment

actions, including receiving an extremely low performance evaluation, being

reassigned to details requiring him to climb stairs and be mobile, and being forced

to take sick days rather than being granted time off from work to attend doctor’s

appointments. The evidence offered in support of Jones’ claim, however, shows that

none of these actions materially altered the terms and conditions of his

employment.

      First, there is nothing in the record to suggest that the poor performance

evaluation had any impact on Jones’ job, his pay or his assignments. In fact, Jones

concedes that the low score was changed to a higher, more acceptable score within

two weeks. Jones Dep. at 37. And negative performance evaluations, standing



                                          10
  Case: 1:13-cv-08993 Document #: 94 Filed: 07/14/16 Page 11 of 18 PageID #:839



alone, are not cognizable adverse employment actions. Sublett v. John Wiley &

Sons, Inc., 463 F.3d 731, 739 (7th Cir. 2006). Nor is there anything in the record to

suggest that Defendant’s attempts to “make paper” on him cost him salary or other

benefits; he has not alleged that calling in sick resulted in lower pay or any other

tangible loss. In fact, at his deposition, Jones testified that he still was able to

make all of his scheduled doctors’ appointments. The only consequence was that his

frequent calling appeared as “a negative” in his personnel file and made him look

like a “problematic employee.” Jones Dep. at 59-61. Yet Jones does not allege that

he was fired or demoted or otherwise suffered because of that “negative.”

      Plaintiff also claims that the assignment to prisoner transport and base

amounted to an adverse employment action. But there is no evidence that this

assignment amounted to a demotion, with lower pay or fewer responsibilities. And

Jones testified at his deposition that the assignment lasted just one week and that

he was able to complete the assignment. Jones Dep. 34-35. Nor was the change in

the way assignments were made material. Jones testified that he was reprimanded

by a judge once for opening a courtroom late. But there is nothing in the record to

suggest that this single reprimand affected his pay, his assignments, or any other

aspect of his job. Plaintiff may have had to “hustle” to make it to his assigned

location, but that would fall into the “mere inconvenience” category and not the

“materially adverse” category. See Oest, 240 F.3d at 612.

      Jones also alleges that he was constructively discharged. Jones alleges that

the work reassignments (both the specific assignments and the manner in which



                                         11
  Case: 1:13-cv-08993 Document #: 94 Filed: 07/14/16 Page 12 of 18 PageID #:840



they were announced), the refusal to allow him to take time off for doctors’

appointments and the attempts to “make paper” on him all made his work

environment so unbearable that he was forced to resign. To prevail on a claim for

constructive discharge, Jones must show that a hostile work environment existed

and that the abusive working environment became so intolerable that his

resignation qualified as a fitting response. Herr v. City of Chicago, 479 F. Supp. 2d

834, 840-41 (N.D. Ill. 2007) (citing Penn. State Police v. Suders, 542 U.S. 129, 146-47

(2004); Rooney v. Koch Air, LLC, 410 F.3d 376, 382-83 (7th Cir. 2005)). A “hostile

work environment exists where an employee experiences harassment that is so

‘severe or pervasive as to alter the terms and conditions of employment and create

an abusive working environment.’” Id. (quoting Mannie v. Potter, 394 F.3d 977, 982

(7th Cir. 2005)).   Jones must also show that the harassment resulting in his

constructive discharge was motivated by his disability. Id.; Rooney, 410 F.3d at

383.

       Although a constructive discharge constitutes an adverse employment action,

Plaintiff has not alleged facts from which a reasonable factfinder could infer that he

was constructively discharged. First, Jones has not presented evidence of a hostile

work environment. In Herr v. City of Chicago, the plaintiff claimed ADA retaliation

and constructive discharge; he alleged that his supervisors ignored him, treated him

as if he did not exist, made derogatory remarks about him and refused his schedule

change request.     479 F.Supp.2d at 837-38.     Citing cases in which constructive

discharge was found to have occurred and noting the egregious nature of the



                                          12
  Case: 1:13-cv-08993 Document #: 94 Filed: 07/14/16 Page 13 of 18 PageID #:841



conduct alleged in those cases, the district court determined that Kerr’s allegations

did not rise to that level. Herr, 479 F.Supp. 2d at 841 (comparing Taylor v. Western

& Southern Life Ins. Co., 966 F.2d 1188, 1191 (7th Cir. 1992), which found

constructive discharge where the plaintiff’s boss consistently made racial comments,

once held a gun to plaintiff’s head, took a photo and later showed it at a staff

meeting while making racial jokes), and Brooms v. Regal Tube Co., 881 F.2d 412,

417 (7th Cir. 1989), which found constructive discharge where a human resources

manager threatened to kill the plaintiff and repeatedly showed her racist

pornographic photos.).

      The conduct alleged here similarly falls far short of demonstrating a hostile

environment.     Unless “conditions are beyond ‘ordinary’ discrimination, a

complaining employee is expected to remain on the job while seeking redress.”

E.E.O.C. v. Sears, Roebuck & Co.,233 F.3d 432, 440 (7th Cir. 2000). Jones has not

alleged conditions that went beyond ordinary; indeed, there is nothing in the record

to suggest that he ever even lodged a formal complaint with anyone at the Sheriff’s

Office about the conduct he alleges was discriminatory.

      Even if Jones could show that he suffered an adverse employment action, he

cannot show that the action was causally related to his protected activity.       To

demonstrate the required causal link in a retaliation claim, a plaintiff must provide

evidence that the protected action was a “substantial motivating factor” for the

adverse employment action.     Smith v. Bray, 681 F.3d 888, 900 (7th Cir. 2012).

With regard to causation, Plaintiff argues that his reassignments and his having to



                                         13
  Case: 1:13-cv-08993 Document #: 94 Filed: 07/14/16 Page 14 of 18 PageID #:842



call in sick to work for doctor appointments were punishment in retaliation for his

EEOC charges. He argues that he has proven causation by “establishing a ‘telling

temporal sequence’ between his disability and Defendant’s pattern of retaliatory

assignments.”    Plaintiff’s Response in Opposition to Defendant’s Motion for

Summary Judgment [80] at 15. The Court disagrees. Plaintiff’s temporal sequence

does not establish that his EEOC claim was a substantial motivating factor for any

adverse employment actions. Although suspicious timing may constitute evidence

of retaliation, e.g., Troupe v. May Dep't Stores Co., 20 F.3d 734, 736 (7th Cir. 1994),

here, the timing undermines Jones’ retaliation claim.

      Jones has consistently alleged that Defendant retaliated against him because

he filed the EEOC charges. But such a claim makes no sense with respect to the

discriminatory conduct alleged in the first charge because he had not yet filed an

EEOC charge when that conduct occurred.            Jones conceded as much at his

deposition. Jones Dep. at 40-42.

      Additionally, all of the conduct Jones complains about (including his first

charge, his second charge and his complaint) occurred before he filed his charges.

Jones testified that the job reassignments and the change in announcing job

assignments occurred in 2010 and 2011. Jones Dep. at 34. Jones testified that

Sergeant Lackomecki started requiring him to call in sick for medical appointments

beginning in early 2012. Id. at 53. Lackomecki’s comment about retirement also

came in early 2012.




                                          14
  Case: 1:13-cv-08993 Document #: 94 Filed: 07/14/16 Page 15 of 18 PageID #:843



      Jones testified at his deposition that he suffered no discriminatory or

retaliatory conduct for a year after he filed the first charge – that is, from June 4,

2012 through June 4, 2013. Jones Dep. at 88-89. He testified that, after that,

between June 4, 2013 and September 18, 2013, “it really became unbearable, and

that prompted my re-filing.” Id. at 89. Yet, when pressed, he could not articulate a

single act taken against him that was not also occurring prior to the time he filed

the June EEOC charge. Indeed, he testified that the acts that had been occurring

prior to the filing of the charge were “revisited” after he filed the charge. Jones Dep.

at 91. He testified that the actions alleged to be retaliatory to the EEOC charge

filing “were the same things that occurred in 2010, and up to June of 2012.” Jones

Dep. at 120. This evidence belies any claim that the filing of the EEOC charge

substantially motivated Defendant’s conduct.       Jones offers no other evidence of

causation. Absent such evidence, Plaintiff’s retaliation claim fails under the direct

method of proof.

      B.     Indirect Method

      A plaintiff may also elect to use the indirect, burden-shifting method for

proving a retaliation claim.      Under the indirect method, “the plaintiff must

demonstrate that he: (1) engaged in protected activity; (2) was performing his job

satisfactorily; and (3) was singled out for an adverse employment action that

similarly situated employees who did not engage in protected activity did not

suffer.” Dickerson v. Bd. of Trustees of Cmty. Coll. Dist. No. 522, 657 F.3d 595, 601-

02 (7th Cir. 2011) (citing Lloyd v. Swifty Transportation, Inc., 552 F.3d 594, 601



                                          15
  Case: 1:13-cv-08993 Document #: 94 Filed: 07/14/16 Page 16 of 18 PageID #:844



(7th Cir. 2009)). If the plaintiff satisfies this initial burden, the burden then shifts

to the defendant to present a non-invidious reason for the adverse employment

action, and if the defendant meets this burden, then the plaintiff must demonstrate

that the defendant’s proffered reason is merely a pretext for discrimination.

Dickerson, 657 F.3d at 602 (citing Jasmantas v. Subaru–Isuzu Auto., Inc., 139 F.3d

1155, 1157 (7th Cir. 1998)).

      The parties agree that Jones engaged in protected activity when he filed

EEOC charges on June 4, 2012 and September 18, 2013, and there is no dispute

that Jones was meeting his employer’s legitimate expectations. But Jones is unable

to prove the remaining element of his prima facie case under the indirect method.

As explained above, he cannot show that he suffered any adverse employment

action. Nor has Jones demonstrated that similarly situated employees who did not

engage in protected activity were treated differently.

      Defendant argues that Plaintiff has not identified “any similarly situated

employee who did not engage in protected activity under the ADA, who was treated

more favorably than Plaintiff.” [67] at 10. The Court agrees that Plaintiff has

offered no evidence on this point. In a prima facie case of retaliation under the

indirect method, a plaintiff must identify a similarly situated employee who did not

engage in a protected activity and was treated more favorably than the plaintiff.

Lloyd, 552 F.3d at 601. A plaintiff must identify someone with enough similarity in

key areas that a jury could infer that the only meaningful difference between the

two is a previous charge of discrimination against the employer.         Humphries v.



                                          16
   Case: 1:13-cv-08993 Document #: 94 Filed: 07/14/16 Page 17 of 18 PageID #:845



CBOCS West, Inc., 474 F.3d 387, 405 (7th Cir. 2007). Plaintiff has offered no such

evidence.   In fact, the only evidence concerning anyone other than Plaintiff is

Plaintiff’s deposition testimony that he “felt as though I was being treated

differently than everybody else, and that prompted my second [EEOC] filing.”

Jones Dep. at 68.

      In Hancock v. Potter, a U.S. Postal Service employee alleged retaliation by

her employer after she filed EEOC charges. 531 F.3d 474, 477 (7th Cir. 2008). Yet,

plaintiff there offered no evidence of similarly situated employees; she named no

names and gave no comparisons.       The Seventh Circuit held that the plaintiff’s

“attempt to make out a prima facie case falls short because she has not identified a

similarly situated non-complaining employee, much less presented convincing

evidence that such an employee was treated more favorably.” Id. at 480. The same

is true here.

      Plaintiff has not identified any similarly situated employee who did not

engage in a protected activity and was treated more favorably than him. Although

he testified that he felt he was being treated differently than “everybody else,”

Jones Dep. at 69, Jones has not named names and has provided no additional detail

as to the other employees. Jones has not alleged or offered any evidence to indicate

whether the other employees engaged in protected activity. Nor has he alleged or

offered evidence to show that the other employees were not subject to the same

policies he was. Absent evidence along this line, summary judgment in favor of

Defendant is appropriate. See Citizens for Appropriate Rural Roads v. Foxx, 815



                                        17
  Case: 1:13-cv-08993 Document #: 94 Filed: 07/14/16 Page 18 of 18 PageID #:846



F.3d 1068, 1077 (7th Cir. 2016) (“summary judgment is the ‘put up or shut up’

moment in a lawsuit”) (quoting Siegel v. Shell Oil Co., 612 F.3d 932, 937 (7th Cir.

2010)). Just as it did under the direct method, Plaintiff’s retaliation claim fails

under the indirect method.

IV.   Conclusion

      For the reasons explained above, the Court finds that Plaintiff’s retaliation

claim fails under both the direct method and the indirect method. As a result,

summary judgment in Defendant’s favor is appropriate, and Defendant’s motion for

summary judgment [66] is granted.        The Clerk is directed to enter Rule 58

judgment in favor of Defendant and against Plaintiff. Civil case terminated.

Dated: July 14, 2016

                                             Entered:



                                                                _________
                                             John Robert Blakey
                                             United States District Judge




                                        18
